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14
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15
                              NORTHERN DISTRICT OF CALIFORNIA
16
                                      SAN FRANCISCO DIVISION
17

18   MAXIMILIAN KLEIN, et al., on behalf of          Case No. 3:20-cv-08570-JD
     themselves and all others similarly situated,
19
                                   Plaintiffs,       DEFENDANT META PLATFORMS,
20                                                   INC.’S OPPOSITION TO ADVERTISER
            v.                                       PLAINTIFFS’ MOTION FOR CLASS
21                                                   CERTIFICATION
22   META PLATFORMS, INC., a Delaware
     Corporation,                                    Hearing Date: To Be Determined
23                                                   Time: To Be Determined
                                   Defendant.        Judge: Hon. James Donato
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 1                                            INTRODUCTION

 2          Meta sells many different types of ads—to a wide range of advertising customers, who pay

 3   different prices set in millions of individualized auctions. Advertisers attempt to side-step the

 4   individualized nature of advertising purchases on Meta by calculating an average overcharge

 5   drawn from an analysis of Meta’s profits—not its prices—and seek class certification based on

 6   their contention that every class member was overcharged by that exact same, average amount. In

 7   doing so, they offer this Court a model of both antitrust impact and damages that is wholly

 8   incompatible with class treatment. The problems with Advertisers’ model have been exposed for

 9   nearly a year. On their second attempt (even after the Court admonished them not to offer new

10   theories or recast their arguments—which they did anyway), it is clear that Advertisers cannot

11   remedy these defects. Their motion should be denied with prejudice.

12          Advertisers’ approach cannot show class-wide impact, for multiple independent reasons.

13   First, Meta’s relative profits cannot show that its conduct had a class-wide impact on the prices

14   class members paid. To show an overcharge, Advertisers rely exclusively on the assertion of their

15   putative expert Williams that the difference between Meta’s profits and those of so-called

16   “yardsticks” results from supracompetitive prices. But Williams admits that, even if there were

17   excess profits, they could result from things other than excess prices—i.e., that excess profits do

18   not necessarily show an overcharge at all. Williams offers no justification for why he nevertheless

19   attributes the entirety of the profit differential to excess pricing, and Advertisers do not even try to

20   explain how this model shows that Meta overcharged anyone—let alone a putative class of all

21   advertisers—for “social advertising.”

22          Second, even if Advertisers could somehow rely on profits alone to establish an overcharge

23   (they cannot), Advertisers’ model attempts to calculate only the average amount each class

24   member was overcharged. But an average does not show that all advertisers were overcharged,

25   and says nothing about which advertisers in fact overpaid for ads. To certify a class, Advertisers

26   needed a model capable of proving that all or nearly all advertisers overpaid for ads. They have

27   not come close. Their model is equally consistent with half of the class members being overcharged

28   by twice the average, and the other half not being overcharged at all. And while Advertisers

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 1   fleetingly gesture toward the existence of Meta’s auction-based pricing system to justify their use

 2   of an average overcharge, that system—which not all class members used to purchase ads—by its

 3   very nature generates highly individualized ad prices that vary from advertiser-to-advertiser and

 4   from ad-to-ad depending on the composition of bidders in the auction and ad quality, among other

 5   factors. The auction model (and the many bespoke agreements Meta has with advertisers) means

 6   that prices are in key economic respects akin to negotiated prices, which makes it more, not less,

 7   difficult to provide a common means of showing antitrust impact, as required for class

 8   certification. Advertisers have offered no classwide method to resolve these complexities.

 9          Third, even independent of those problems, Advertisers fail to focus their model on the

10   market they assert. Advertisers have proposed a submarket for “social advertising.” Meta is alleged

11   to have a monopoly only in that submarket and, as a result, only purchasers of social advertising

12   were even ostensibly subject to a monopoly overcharge. But the proposed class encompasses all

13   purchasers of Meta’s ads, even though not all of Meta’s ads are “social”—even under Advertisers’

14   hopelessly muddled definition of the term. Advertisers offer no way of identifying who purchased

15   “social” ads and thus who was injured.

16          Fourth, Advertisers ignore the fact that their claims turn on the premise that Meta improved

17   its offerings, including through more targeted advertising that yields better results for advertisers,

18   through the challenged conduct. Those improvements make it highly likely that—even if

19   Advertisers’ claims are credited—many class members obtained a net benefit from the challenged

20   conduct via lower prices. Thus, an individualized, advertiser-by-advertiser inquiry must be

21   undertaken to assess injury.

22          Beyond all that, even if Advertisers could show that the challenged conduct resulted in

23   class-wide overcharges for social advertising, the model they have presented fails to measure

24   damages attributable to their theory of liability, as required under Comcast Corp. v. Behrend, 569

25   U.S. 27, 34 (2013). Williams’s analysis contains none of the hallmarks of a reliable yardstick

26   study. He fails to control for any of the myriad factors other than the challenged conduct that he

27   concedes could have caused the difference between Meta’s profits and the yardsticks, and the

28   results of his study thus bear no relation to any effects caused by the acts forming the basis for

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 1   Advertisers’ claims. At best, Advertisers’ model calculates an overcharge flowing from the

 2   existence of Meta’s alleged monopoly, rather than the challenged conduct, and thus purports to

 3   claim damages well in excess of what Advertisers would be entitled to under well-settled law.

 4   Berkey Photo, Inc. v. Eastman Kodak Co., 603 F.2d 263, 297 (2d Cir. 1979) (monopoly

 5   maintenance plaintiff entitled only to “price increment” attributable to exclusionary conduct).

 6          Ultimately, Advertisers’ approach is so unmoored from reason and evidence that, out of

 7   the tens of millions of advertisers that advertise on Meta’s services, they could not find a

 8   representative advertiser as a named plaintiff. Instead, the named plaintiffs are idiosyncratic

 9   advertisers who spent very little on Meta ads and know next to nothing about this case or about

10   Meta’s or other companies’ ad offerings. They do not represent the interests of the many class

11   members who understand and value precisely the sort of advertising improvements that

12   Advertisers take aim at in this litigation. Thus, this is a case not suited for class treatment. The

13   millions of advertisers who received significant return on investment from their advertising on

14   Meta need not and should not be dragged into this dispute.

15                                           BACKGROUND

16          Advertisers challenge five actions they claim enabled Meta to maintain a monopoly in the

17   submarket for “social advertising”: (1) using the Facebook Research App (“FBR App”)—which

18   Advertisers refer to as Meta’s “in-app action panel”—to allegedly “monitor and preempt

19   competitive threats”; (2) imposing privacy-protective restrictions on other companies’ use of Meta

20   users’ data; (3) supposedly secretly agreeing to scuttle one of Meta’s many video features to secure

21   a slight increase in Netflix advertising spend and keep “valuable Netflix signals” for Meta’s own

22   use; (4) joining Google’s advertising auctions so that Meta could “expand[]” its ad offerings “into

23   the open web”; and (5) trying to deceive the FTC to prevent a lawsuit seeking the divestiture of

24   Instagram (a lawsuit the FTC brought). Dkt. 796 (“Mot.”) at 5. Advertisers assert that “[b]ecause

25   of Facebook’s conduct, Facebook’s [ad] targeting ability vastly increased.” First Am. Compl., Dkt.

26   391 ¶825. They seek to litigate those claims on behalf of a class of everyone “in the United States

27   who purchased advertising from Meta Platforms, Inc. … between December 1, 2016 and

28   December 31, 2020.” Mot. ii.

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 1           When Advertisers first moved for class certification, and again at the merits stage, they

 2   offered a “yardstick” study by their putative expert, Williams, that they claimed established the

 3   existence of a class-wide overcharge for advertising. That model used six selection criteria to

 4   identify three comparator firms—           , the Chinese firm        , and a small Polish company

 5   called “                   ” that sells tourist packages, architectural plans, and cars. It then

 6   compared Meta’s “economic profit rate” (or “EPR”) to those firms’ EPRs, claimed that the

 7   difference between those rates was due entirely to the challenged conduct, and used the result to

 8   (purportedly) reverse engineer a class-wide overcharge of $21.4 billion. Williams’s approach

 9   rested on a series of assumptions: that the challenged conduct caused “

10              ” between Meta’s EPR and the yardsticks’, that “

11                                                                                        ” and that “

12

13                               ” Ex. 1, Williams 9/23 Tr. 73:1-17, 229:3-9, 229:18-22. 1

14           In support of their latest motion, Advertisers offer a new “yardstick” study, which relies on
15   those same assumptions, Ex. 2, Williams 6/24 Tr. 32:2-9, 66:5-9, but then makes substantial,
16   unexplained departures from Williams’s earlier effort. The new study, like Advertisers’ old one,
17   does not consider the price Meta charged for any ad, omits any analysis of how benign factors may
18   affect the studied firms’ relative profitability, and makes no effort to identify the portion of
19   damages stemming from the challenged conduct. Id. at 35:11-36:12, 44:14-21, 60:13-61:8.
20           But despite the Court’s clear instruction at the April 18, 2024 status conference that the
21   renewed class certification briefing was “not an opportunity to come up with new theories,” and
22   specific directive to Advertiser counsel that “[y]ou are not recasting anything,” Hr’g Tr. 31:24-
23   32:7, Advertisers’ new study is materially different (though equally, if not more, flawed) from
24   what they submitted in the first round of briefing. The new study uses a different set of selection
25   criteria than the old study, keeping the odd lot of                                         but also
26   expanding the pool of comparator firms to twenty-five, including German and British real estate
27   1
       Unless otherwise noted, “Ex.” citations reference exhibits to the Gringer Declaration filed
28   herewith, emphasis is added, and objections are omitted for deposition citations. Citations to the
     Williams Report reference Dkt. 795-19 submitted with Advertisers’ class certification motion.
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 1   portals, several international car sales websites, American and Chinese stock photography

 2   websites, price-comparison websites “                       ” and “                      ” and a

 3   Chinese entity called “                                        ” See Williams Rep. ¶¶98-106 In

 4   another unexplained departure from Advertisers’ prior study, it then creates numerous groups of

 5   those firms—ranging from 5 firms to 25 firms apiece—and calculates the weighted average profit

 6   rate of each grouping to compute the gap between each group’s average and Meta’s profit rate

 7   during the Class Period. See id. ¶¶100-104. But then—just like Advertisers’ first study—it asserts

 8   that the entire gap between Meta’s profit rate and these averages reflects Meta’s monopoly profits

 9   stemming from the challenged conduct. See id. ¶106. The study, like its forerunner, makes no

10   further attempt to link injury or damages to the categories of anticompetitive conduct described

11   above. This new study produces a range of damages figures from $25.5 to $26.6 billion—an

12   increase of more than $5 billion from Advertisers’ original model.

13          Because Advertisers’ damages study says nothing on whether all or most class members

14   were impacted by (or faced higher prices due to) the challenged conduct, Williams claims that his

15   damages figure can infer classwide impact from the (supposed) fact that

16

17              ” Williams Rep. ¶66. From there, Williams asserts “

18                                                                                           ” Id.

19                                            ARGUMENT

20          Advertisers’ motion first fails because it relies exclusively on Williams’s inadmissible

21   “expert” testimony to prove that all Meta advertisers suffered antitrust injury and damages. For

22   the reasons detailed in Meta’s concurrently filed Daubert motion, Williams’s opinions on these

23   matters are junk science. If properly excluded, Advertisers necessarily fail to meet the

24   requirements of Rule 23. See Olean Wholesale Grocery Cooperative, Inc. v. Bumble Bee Foods

25   LLC, 31 F.4th 651, 665 (9th Cir. 2022) (en banc) (plaintiffs bear the burden of proof at class

26   certification); In re Google Play Store Antitrust Litig., 2023 WL 5602143, at *1 (N.D. Cal. Aug.

27   28, 2023) (Donato, J.); see also In re Rail Freight Fuel Surcharge Antitrust Litig.-MDL No. 1869,

28   725 F.3d 244, 252-53 (D.C. Cir. 2013) (“No damages model, no predominance, no class

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 1   certification.”). But either way, Advertisers cannot satisfy Rule 23’s requirements or Comcast.

 2   I.      INDIVIDUALIZED ISSUES OF ANTITRUST IMPACT PREDOMINATE OVER COMMON ONES

 3           This Court should deny class certification because Advertisers have failed to show
 4   common proof of antitrust impact. See Allied Orthopedic Appliances, Inc. v. Tyco Healthcare Grp.,
 5   247 F.R.D. 156, 165 (C.D. Cal. 2007) (“[C]lass certification is precluded where plaintiffs have not
 6   shown that the fact of injury element can be proven for all class members with common
 7   evidence.”). Assessing impact here will require individualized inquiries into (1) whether any
 8   advertiser paid supracompetitive prices for “social” ads—including whether the advertiser
 9   benefited from the challenged conduct, such that they were not overcharged at all, and (2) whether
10   advertisers even participated in the purported submarket for “social advertising.” Each is fatal to
11   class certification. Bowerman v. Field Asset Servs., 60 F.4th 459, 469 (9th Cir. 2023).
12                  Impact Through Ad “Overpayment” Is Individualized
13                  1.      Advertisers Offer No Common Way To Prove Class-Wide Overcharge
14           Advertisers claim that Williams’s analyses of Meta’s profits relative to other firms show
15   that Meta overcharged for ads, and point to the fact that Meta sells ads using an auction to argue
16   that all class members suffered the same overcharge. Mot. 22-24. This approach does not show
17   that any class member was overcharged, let alone all of them, dooming Advertisers’ motion.
18   Williams’s profits study does not actually show an overcharge, but rather assumes one. At best, it
19   calculates an average overcharge that courts have repeatedly and rightfully held cannot suffice to
20   show common impact. And contrary to Advertisers’ arguments, neither Meta’s use of an auction
21   nor Advertisers’ purported ability to calculate class-wide damages can salvage this injury model.
22                          i.      Williams’s Analysis Does Not Show Any Price Overcharge
23           As an initial matter, Williams’s study does not consider any evidence about what any Meta
24   advertiser paid for ads. None. Instead, Williams’s study considers profits; without explanation or
25   justification, he attributes the difference between Meta’s and his benchmarks’ profitability entirely
26   to supracompetitive pricing caused by the challenged conduct. This analysis is not capable of
27   showing any price impact, let alone a common one. As Williams acknowledged, a firm like Meta
28   may “                                                                                     ” including

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 1          Courts routinely reject class certification analyses that posit classwide antitrust impact

 2   based on average overcharges. This is for good reason. Averages mask variations among individual

 3   class members, including class members that suffered no injury. “[A] benchmark showing a 30%

 4   overcharge could mean half of the class was not overcharged at all and the other half paid a 60%

 5   overcharge.” North Brevard Cnty. Hosp. Dist. v. C.R. Bard, Inc., 2023 WL 8936389, at *12 (D.

 6   Utah Dec. 27, 2023). Using an average “evade[s] the very burden that [Williams] was supposed to

 7   shoulder—i.e., that there is a common methodology to measure impact” across class members. In

 8   re Graphics Processing Units Antitrust Litig., 253 F.R.D. 478, 492 (N.D. Cal. 2008). Particularly

 9   in a monopolization case like this one, challenging an “‘array of anti-competitive conduct having

10   an indirect effect on … the general price level’ of the products at issue[,] … proof of fact of injury

11   requires much more than a simple showing that the plaintiffs purchased an item in a world where

12   average prices were inflated.” Allied Orthopedic, 247 F.R.D. at 166; see Ex. 2, Williams 6/24 Tr.

13   168:20-169:6 (“                                                              ”).

14          Indeed, courts have rejected strikingly similar studies offered as supposed class

15   certification benchmarking analyses. In North Brevard, the plaintiff’s expert “estimat[ed] the

16   overcharge—the antitrust price injury—using … benchmarks” to compare the defendant’s

17   monopoly “margins with competitive margins” and infer an average price overcharge across the

18   class. 2023 WL 8936389, at *11. The Court held that this analysis “fail[ed] to demonstrate a

19   common methodology for proving impact and injury because nothing in the methodology

20   ‘attempt[ed] to show that all or nearly all purchasers were overcharged in that amount, or in any

21   amount at all.’” Id. at *12 (quoting Optical Disk Drive, 303 F.R.D. at 321). As in North Brevard,

22   Williams’s study “assumes the very proposition that [Advertisers are] now offering it … to

23   show”—that all advertisers in the class were subject to the same overcharge. Id.

24                          iii.    Meta’s Ad Auctions Do Not Justify The Use Of An Average

25          The assumption that all advertisers would have paid a uniform, average overcharge is

26   untenable given the facts of this case. Meta advertising does not have standard pricing, standard

27
     suffers from the same defects as Williams’s yardstick study—it also computes an average
28   percentage overcharge without establishing whether any individual advertiser was overcharged.
     See Williams Rep. ¶91 n.95.
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 1   products, or standard purchasers. Advertisers instead purchase ads using bespoke contracts,

 2   discount and coupon arrangements, or through Meta’s ad auction (among other things). See Ex. 3,

 3   Tucker Rep. ¶¶69-71; Ex. 4, Frederick Tr. 156:7-15. Advertisers defend their use of an average

 4   overcharge by pointing to Meta’s ad auction, which purportedly serves as a “                      ”

 5   for pricing, Williams Rep. ¶65, and demonstrates that prices “were higher for all or nearly all

 6   members of the proposed Class.” Mot. 15. But the manner in which prices are set does not say

 7   anything about whether they are inflated, let alone whether they are inflated for everyone. Neither

 8   Advertisers nor Williams ever explain what it is about Meta’s auctions, or the existence of a

 9   purportedly “          ” pricing mechanism, that ensures an average overcharge would be felt—

10   and felt equally—by all advertisers on Meta. That is because there is no explanation. And as a

11   practical matter, the proposition that Meta’s auction makes it more likely than not that all

12   advertisers in the class were subject to the same overcharge is wrong for multiple reasons.

13            First, the auction’s structure makes it far more likely that prices will be individualized—

14   especially as compared with ordinary retail goods, where uniform prices are set in advance for all

15   customers. 4 Separate auctions are held for each opportunity to show a user an ad available through

16   the auction system. Pricing for each of the millions of auctions conducted daily is determined by
17   a litany of individualized, transaction-specific factors, including the composition of competing
18   bidders in each auction (which is determined by, among other things, whether the particular user
19   who is to be shown an ad fits the targeting criteria an advertiser has selected), their bidding
20   behavior and strategies, and the quality of their ads. See Ex. 3, Tucker Rep. ¶¶62-64; see also Ex.
21   1, Williams 9/23 Tr. 116:9-17                          ). As with negotiated pricing, auction-based
22   pricing generates individualized prices based on factors specific to each customer and each
23   transaction. See Ex. 3, Tucker Rep. ¶¶64-67; In re Flash Memory Antitrust Litig., 2010 WL
24   2332081, at *8 (N.D. Cal. June 9, 2010) (“antitrust claims predicated on negotiated transactions
25   … often entail consideration of individualized proof of impact”). Accordingly, for all advertisers
26   using the auction to have paid the same overcharge, the combination of all of the transaction-
27   4
       To be clear, Meta is not arguing that the existence of an auction necessarily precludes class
28   certification. Advertisers’ unsupported theory, however, is that an auction compels a uniform
     overcharge, which is nonsensical.
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 1   period, ranging from barber Mark Young to Procter & Gamble), Advertisers provide no common

 2   method for determining which of its members would have switched to supposed new competitors

 3   or obtained lower auction prices under their theory. See Ex. 1, Williams 9/23 Tr. 156:1-20

 4   (

 5                                                           ”). It is implausible that it would have been

 6   all or nearly all such advertisers. And as a result, Advertisers have no basis to assume that everyone

 7   who purchased ads via an auction would have paid higher prices. Proving an overcharge would,

 8   instead, require analyzing the composition of each individual class member’s ad auctions and

 9   assessing how it (and the resulting prices) would have been different in the but-for world.

10            And third, as Williams himself conceded, “

11           .” Ex. 1, Williams 9/23 Tr. 87:25-88:6. Some class members purchased “Reach and

12   Frequency” ads with predetermined prices. See Ex. 3, Tucker Rep. ¶70. Others used the auction

13   price only as a jumping-off point before individualized discounts, credits, and other incentives

14   modified it. See id. ¶69. And still other advertisers—usually large “power” buyers—negotiated

15   bespoke pricing agreements with Meta for custom prices or discounts. See id. ¶71; see also FTC

16   v. Cardinal Health, Inc., 12 F. Supp. 2d 34, 59 (D.D.C. 1998) (“the existence of large power buyers

17   mitigate[s] against the ability … to raise prices”). Indeed, Advertisers’ industry expert agreed that,

18   due to the diversity of pricing options, “an individualized inquiry is necessary to determine how

19   an ad is purchased and how the pricing of that ad is determined.” Ex. 6, Fasser Tr. 148:24-149:3.

20                          iv.     Advertisers’ Damages Computation Cannot Substitute For A

21                                  Showing Of Common Impact

22            Having failed to defend their average overcharge calculation, Advertisers fall back on the

23   assertion that “[p]roviding a model for estimating aggregate damages is sufficient to establish

24   predominance.” Mot. 23. That argument conflates the separate requirements of classwide antitrust

25   impact and classwide damages. “‘The ability to calculate the aggregate amount of damages …

26   does not absolve plaintiffs from the duty to prove each [class member] was harmed by the

27   defendants’ practice.’” In re New Motor Vehicles Canadian Export Antitrust Litig., 522 F.3d 6, 28

28   (1st Cir. 2008) (quoting Newton v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 259 F.3d 154, 188

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 1   (3d Cir. 2001)). Thus, antitrust plaintiffs claiming an overcharge must provide a model of antitrust

 2   impact that can “establish, without need for individual determinations for the many … potential

 3   class members, which consumers were impacted by the alleged antitrust violation and which were

 4   not.” New Motor Vehicles, 522 F.3d at 28. And plaintiffs seeking class certification may not simply

 5   “rely on an inference that any upward pressure on … pricing would necessarily raise the prices

 6   actually paid by individual consumers.” Id. at 29. Nor may they rest on an expert’s “assert[ion]

 7   that each class member may calculate his or her damages merely by ‘applying [an] overcharge

 8   percentage estimated on a class-wide basis to [the member’s] individual purchases.’” Optical Disk

 9   Drive, 303 F.R.D. at 321. Rather, they must provide a method capable of “show[ing] that all or

10   nearly all purchasers were overcharged in that amount.” Id. Advertisers’ model, which “makes no

11   attempt to establish, but instead simply assumes, class-wide impact,” falls well short. Id.

12                  2.      Advertisers Cannot Account For Offsetting Benefits With Common

13                          Proof

14          “There can be no antitrust injury if the plaintiff stands to gain from the alleged unlawful

15   conduct.” Am. Ad Mgmt., Inc. v. Gen. Tel. Co., 190 F.3d 1051, 1056 (9th Cir. 1999). Accordingly,

16   the Sherman Act requires that a court “take into account any benefits which would not have been

17   received by plaintiff ‘but for’ the defendant’s anticompetitive conduct, or amounts a plaintiff

18   would have expended in the absence of the violation.” Los Angeles Mem’l Coliseum Comm’n v.

19   Nat’l Football League, 791 F.2d 1356, 1367 (9th Cir. 1986). Where the benefits exceed the harms,

20   there is no injury for which to recover. And where such benefits vary by class member, and thus

21   “require[] an analysis of each putative class member’s purchases” to determine which members

22   “suffered net harm,” they render antitrust injury an individualized issue, making class certification

23   inappropriate. Kottaras v. Whole Foods Mkt., Inc., 281 F.R.D. 16, 25 (D.D.C. 2012); see also In

24   re Aluminum Warehousing Antitrust Litig., 336 F.R.D. 5, 59 (S.D.N.Y. 2020) (no “common proof

25   of antitrust injury” where “price increase … was offset—and, at least for some … purchases,

26   wholly offset—by the [conduct’s] downward [pricing] impact … thereby eliminating any injury”).

27          Advertisers ignore the substantial, individualized benefits that the challenged conduct (if

28   true) would have delivered to class members. They offer no methodology—let alone a common

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 1   one—for determining which members suffered a net injury once those benefits are accounted for.

 2                          i.      Advertisers’ Claims Turn On Advertising Improvements

 3          Advertisers’ allegations hinge on the idea that Meta’s alleged conduct impeded would-be

 4   competitors by either improving Meta’s ad targeting capabilities, or causing the introduction of

 5   new features and improvements that different advertisers valued in different ways. Since its

 6   inception, the central premise of Advertisers’ case has been that, “[b]ecause of Facebook’s

 7   conduct, Facebook’s [ad] targeting ability vastly increased.” First Am. Compl., Dkt. 391 ¶825.

 8   Indeed, Advertisers’ motion begins by discussing the supposed “Data Targeting Barrier to Entry”

 9   “linked to Meta’s social data and machine learning dominance” in ad targeting that allegedly

10   “protect[s]” Meta’s monopoly. Mot. 1. And all of the challenged conduct in this case is inextricably

11   intertwined with improvements in the quality of Meta’s advertising service.

12          For example, Advertisers claim that Meta’s use of data collected through the FBR App led

13   to Meta’s launch of Stories—a new advertising format was popular among many advertisers and

14   provided a lower-cost alternative for certain categories of advertisers on Meta’s apps. See Ex. 3,

15   Tucker Rep. ¶¶39-42; Ex. 5 at 1640-41. They also challenge Meta’s Network Bidding Agreement

16   with Google, which enabled Meta advertisers to access ad placements on third-party apps through

17   Google’s Open Bidding auction system. This “

18

19                                   ,” Ex. 7, Crum Tr. 283:24-284:16, and provided many advertisers

20   with additional inventory and better user matches, see Ex. 3, Tucker Rep. ¶¶43-45. Advertisers

21   also envision a but-for world without the challenged conduct in which Meta divested Instagram—

22   the integration of which into Meta’s ad systems has yielded substantial benefits for advertisers that

23   advertise on Facebook and Instagram, and enhanced ad quality on both apps. See id. ¶¶50-51.

24          Moreover, Advertisers have contended that each of the challenged acts improved Meta’s

25   ad targeting capabilities. See Ex. 13 at 87-89 (FBR App data “

26          ”); id. at 164 (Google agreement allowed “

27                                                                                   ”); id. at 88 (alleged

28   Netflix agreement provided Meta with “                                            ”); id. at 110, 154

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 1   (challenged API agreements                                                                         ”

 2   which “                                   ”); id. at 88 (Instagram integration “

 3                                                                                                      ).

 4                          ii.     These Improvements Lowered Prices For Some Class Members

 5          The advertising improvements on which Advertisers’ claims turn—improved performance,

 6   targeting, and measurement, along with the introduction of valuable new advertising formats—

 7   would have lowered the price paid by at least some advertisers in at least two ways.

 8          First, for some advertisers, ad improvements would have brought down the nominal price

 9   of advertising—that is, the price paid for an ad. Improved targeting can increase the effective

10   supply of advertising, “‘push[ing] prices downwards’” for ads. Ex. 8, Susan Athey & Joshua Gans,

11   The Impact of Targeting Technology on Advertising Markets and Media Competition, 100 Am.

12   Econ. R. 608, 608 (2010). “[T]argeting allows general outlets to more efficiently allocate scarce

13   advertising space, resulting in an increase in the number of advertisers who can be

14   accommodated,” thus “push[ing] prices down.” Id.; see also Ex. 3, Tucker Rep. ¶¶47-49. Beyond

15   that, by allowing the creation of multiple distinct types of ads distinguished by the characteristics

16   of the targeted user base, improved targeting can thin demand for some ad inventory and thus

17   lower prices. See id. Assessing these impacts requires inquiry into the forms of targeting each

18   individual advertiser used and demand for the specific ad slots they bought. Id.

19          The second way the challenged conduct benefited many advertisers is by lowering the

20   effective price of advertising—that is, the price advertisers paid to achieve their advertising

21   objectives. That quality-adjusted price is influenced by multiple factors—the nominal price of an

22   ad, to be sure, but also its quality. For example: An advertiser who pays $1 per ad but reaches its

23   desired audience only 10% of the time is effectively paying more for advertising than an advertiser

24   who pays $2 per ad but reaches its desired audience 50% of the time. See Ex. 3, Tucker Rep. ¶46.

25   Here, the targeting and measurement improvements that Advertisers’ claims suggest Meta

26   improperly obtained would have improved the quality of matches for many advertisers. This would

27   reduce their effective price to a degree depending on their individual objectives, how the

28   improvements affected those objectives, and how those effects compared to any alleged increase

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 1   in nominal prices.

 2           “[W]here each customer’s transaction must be evaluated to show injury, ‘the level of

 3   individualized inquiry required … is cancerous to a finding of commonality; there is no common

 4   method for resolving to whom Defendant is liable.’” Kottaras, 281 F.R.D. at 25. That is the case

 5   here. Advertisers have no common method of identifying the class members to which these

 6   benefits accrued or—most importantly—how those benefits impacted the quality-adjusted price

 7   the advertiser paid for ads during the class period. Without such a method, there is no common

 8   way of determining which class members were actually injured—that is, which actually lost more

 9   from purported supracompetitive pricing than they gained from the advertising improvements on

10   which Advertisers’ claims turn. “Since benefits must be offset against losses, it is clear that

11   widespread injury to the class simply cannot be proven through common evidence.” Id.

12                  Whether Class Members Participated In The Purported Market For “Social
13                  Advertising” Is An Individualized Question
14          Advertisers assert a submarket for “social advertising.” That alleged submarket is the only
15   market asserted to have been impacted by Meta’s alleged anticompetitive conduct. The class,
16   however, includes “[a]ll persons … who purchased advertising” of any type from Meta during the
17   class period. Mot. ii. For class certification to be appropriate, Advertisers needed to provide
18   common proof that those class members all purchased social ads in particular—without such
19   proof, they cannot show that antitrust injury is susceptible to class-wide resolution. See, e.g.,
20   Fido’s Fences, Inc. v. Radio Sys. Corp., 999 F. Supp. 2d 442, 449-50 (E.D.N.Y. 2014) (seller of
21   batteries for containment fences challenging anticompetitive conduct in the “submarket for
22   replacement batteries” had no “concrete, actual, or imminent injury” in the “broader market for
23   electronic pet containment systems”); see also Somers v. Apple, Inc., 729 F.3d 953, 963 (9th Cir.
24   2013). An advertiser who purchased only non-social ads from Meta—advertisements outside the
25   market allegedly impacted by Meta’s actions—cannot have suffered antitrust injury. See FTC v.
26   Qualcomm, Inc., 969 F.3d 974, 992 (9th Cir. 2020) (out-of-market harms not cognizable).
27          Advertisers’ incoherent definition of “social” ads makes it impossible to determine which
28   class members purchased “social” advertising and which purchased one of the numerous non-

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 1   social ad products Meta sells. The first insurmountable difficulty in identifying which class

 2   members purchased social advertising is figuring out what Advertisers even mean by “social

 3   advertising.” Advertisers’ motion offers one definition: advertising “that can be targeted using

 4   social data contained in a ‘social graph.’” Mot. 4. But Williams contradicted that definition,

 5   testifying both that it is “possible” for an ad to “constitute social advertising even if it does not use

 6   social data contained in a social graph” and—conversely—that he does not “have an opinion on”

 7   whether “there could be ads that use social data contained in a social graph but that do not

 8   constitute social advertising.” Ex. 9, Williams 2/24 Tr. 21:12-23, 23:2-19. As a result, the sole

 9   attribute offered to delineate Advertisers’ purported market—targeting based on social data in a

10   social graph—is apparently neither necessary nor sufficient to render an ad “social.” The result is

11   an I-know-it-when-I-see-it approach under which Williams makes the sweeping claim that

12                                   ” were “       ” without analysis of whether any of Meta’s ads meet

13   his convoluted definition. Williams Rep. ¶15. Unsurprisingly, this leads to absurd results: Williams

14   testified that

15                                                                                                           .

16   Ex. 2, Williams 6/24 Tr. 89:13-90:7. Because Advertisers have no coherent definition of social

17   advertising, they have no way to determine which class members purchased “social” ads and

18   therefore suffered antitrust injury. Cabrera v. Google LLC, 2023 WL 5279463, at *25 (N.D. Cal.

19   Aug. 15, 2023) (denying certification where plaintiffs did not “offer[] any systemic method for

20   identifying” purchases affected by challenged conduct).

21           What little Advertisers have offered to define the contours of “social advertising” makes

22   clear that not all ads sold by Meta during the Class Period qualify. Williams testified that he “

23

24                                      ” Ex. 2, Williams 6/24 Tr. 73:12-74:24. Thus, if any workable

25   definition of “social advertising” can be gleaned from Advertisers’ deeply flawed efforts to define

26   that term, it is that ads using “social data” for targeting are within the market. But the evidence

27   establishes that many Meta ads do not rely on anything that could be considered “social data.”

28           As Dr. Tucker explains, many of Meta’s targeting options rely on basic demographic data

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 1   that does not turn on users’ social connections or friends, i.e., on a “social graph.” See Ex. 3,

 2   Tucker ¶¶ 15-17. Ads relying on that data are thus not “social.” Indeed, one of Advertisers’ own

 3   experts (now dropped in their renewed class certification motion) conceded as much in his

 4   deposition. See Ex. 10, Gans Tr. 94:6-11 (“[A]ds that target purely on age and location data” are

 5   not “ads that use data on social connections between users.”). The same goes for ads on certain

 6   parts of Meta’s apps, like Marketplace (a feature for buying and selling goods), or those placed on

 7   third-party apps through the Meta Audience Network—again, Advertisers’ own industry expert

 8   (whom they have also dropped from their current motion) testified that such ads are generally not

 9   “social.” Ex. 6, Fasser Tr. 97:8-12 (ads “placed on Facebook Marketplace that a user would

10   encounter based on their entering of a search term … constitute search advertising”); id. 82:15-

11   83:1 (ads purchased through the Meta Audience Network are not “social advertisements” when

12   not “placed on other social media networks”). Another extremely popular non-social ad offering

13   is “Custom Audiences,” where an advertiser defines a target audience using the advertiser’s, not

14   Meta’s, own sources of information. Ex. 11; see also Ex. 3, Tucker Rep. ¶16. A business may, for

15   instance, use a Custom Audience to match its customers to their Meta accounts without relying on

16   any data about users’ social connections. See Ex. 12; Ex. 3, Tucker Rep. ¶16. As a result, these ads

17   are not “social advertising” under Advertisers’ definition. Custom Audience targeting was the

18   source of      % of all advertising spending during the class period. Ex. 3, Tucker Rep. ¶16.

19          By contrast, the record confirms that the targeting features Advertisers apparently believe

20   meet their contrived definition of “social advertising” were used infrequently. “Friends of

21   Connections” targeting, which permits advertisers to target users based on their “friends,”

22   accounted for just % of advertising spend on Meta and was used by less than                          of

23   advertisers on each of Facebook and Instagram. Ex. 3, Tucker Rep. ¶¶22-23. And “Direct

24   Connections” targeting, which targets users based on their interactions with advertisers’ pages,

25   was associated with only     % of ad spend and used by just over          of advertisers. Id. ¶24.

26          If what Advertisers intend to argue is the mere possibility of social targeting makes an ad

27   “social,” they are likewise out of luck—because it would bust the predicate market definition by

28   sweeping in many (many) rivals. It is commonplace that ads sold online can be targeted using

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 1   social data from a social graph. For example, Meta could advertise on Google’s search engine

 2   using Google’s custom audiences tool with its own “social” data. Ex. 3, Tucker Rep. ¶20. Thus,

 3   ads on Google’s search engine can be targeted using social data and thus are social advertisements

 4   too. Williams has no explanation for how these ads would not be social—indeed,

 5                             . Ex. 2, Williams 6/24 Tr. 70:3-71:24. If they are, Meta clearly lacks

 6   monopoly power, even in a market contrived to establish that it does.

 7          Ultimately, given this indeterminacy, identifying which advertisers purchased “social”

 8   ads—and thus may have been injured under Advertisers’ theory—will require guesswork and a

 9   highly individualized inquiry into which ad types an advertiser purchased, and whether those ads

10   were capable of, and actually did, use social data for targeting purposes. Advertisers have

11   identified no class-wide means of answering these questions. While it is easily discernible that a

12   substantial number of Meta’s ads are not social, there is no common way of discerning which ads

13   are social under Advertisers’ contrived definition. These individualized questions will

14   predominate, so class certification is inappropriate. Cabrera, 2023 WL 5279463, at *25.

15   II.    ADVERTISERS’ DAMAGES MODEL FAILS COMCAST

16                  Advertisers’ Damages Model Fails To Identify Damages Traceable To
17                  Meta’s Alleged Anticompetitive Conduct
18          Advertisers’ damages model fails its core task: calculating the damages attributable to the
19   conduct challenged in this case. “Failure to identify a feasible method for calculating class
20   damages is fatal to class certification.” Mueller v. Puritan’s Pride, Inc., 2021 WL 5494254, at *6
21   (N.D. Cal. Nov. 23, 2021) (Donato, J.). To provide such a method, a “damages model ‘must
22   measure only those damages attributable to’ the plaintiff’s theory of liability.” Id. (quoting
23   Comcast, 569 U.S. at 35). “[P]laintiffs must be able to show that their damages stemmed from the
24   defendant’s actions that created the legal liability,” and not from some other cause. Leyva v.
25   Medline Indus. Inc., 716 F.3d 510, 514 (9th Cir. 2013). Thus, their model must “bridge the
26   differences between supra-competitive prices in general and supra-competitive prices attributable
27   to the” specific anticompetitive conduct on which their claims turn because “‘[t]he first step in a
28   damages study is the translation of the legal theory of the harmful event into an analysis of the

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 1   economic impact of that event.’” Comcast, 569 U.S. at 38. In overcharge cases, the damages model

 2   may not just “assume[] that the entire price difference of any comparison product or price point

 3   was attributable” to the alleged wrongful conduct, given the wide array of lawful reasons that price

 4   differences may exist even between generally comparable products. Postpichal v. Cricket

 5   Wireless, LLC, 2023 WL 3294852, at *2 (N.D. Cal. May 4, 2023); see also Brazil v. Dole

 6   Packaged Foods, LLC, 2014 WL 2466559, at *16 (N.D. Cal. May 30, 2014).

 7          Advertisers’ method of calculating the overcharge supposedly flowing from Meta’s alleged

 8   anticompetitive conduct fails this requirement because it makes no effort to separate the profits—

 9   and assumed corresponding price increases—attributable to the challenged conduct from those

10   concededly attributable to other causes. Instead, Advertisers simply assume that every dollar by

11   which Meta’s profits exceeded the average of its (supposedly) peer firms must reflect price

12   increases attributable to the specific anticompetitive conduct challenged in this case. See Ex. 2,

13   Williams 6/24 Tr. 28:16-22. But Comcast forbids Advertisers from simply assuming, without

14   proof, that their damages stem from the challenged conduct. See Leyva, 716 F.3d at 514

15   (“[P]laintiffs must be able to show that their damages stemmed from the defendant’s actions that

16   created the legal liability.”). Williams knows this, yet he repeats his error here. See Grasshopper

17   House, LLC v. Clean & Sober Media LLC, 2019 WL 12074086, at *12 (C.D. Cal. July 1, 2019)

18   (“Dr. Williams’ methodology is also deficient for failing to consider … other factors” than alleged

19   conduct affecting profitability).

20          As Williams himself explained, firms may “

21

22                                                          .” Williams Rep. ¶84. See supra I.A.1. By

23   nonetheless tying damages to relative profits, without any consideration of these possible

24   alternative causes, Advertisers have calculated a damages figure that bears no relation to their

25   theory of liability. See Blue Cross Blue Shield United of Wis. v. Marshfield Clinic, 152 F.3d. 588,

26   593 (7th Cir. 1995) (yardstick study “worthless” when it “attribute[s] the entire difference between

27   the prices” of firms to anticompetitive conduct without “correct[ing] for salient factors, not

28   attributable to the defendant’s misconduct”).

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 1          That problem does not go away just because Advertisers have conducted (so they claim) a

 2   yardstick study. The “most important[]” requirement for a “yardstick methodology” is “to control

 3   for any factors that might have influenced [a firm’s] profit performance that are competitively

 4   neutral or even procompetitive.” Areeda & Hovenkamp, Antitrust Law ¶397 (2023). Yet despite

 5   agreeing that a host of other factors can explain firms’ differing levels of economic success—

 6   including product quality, management quality, human capital, product differentiation, and

 7   product innovation—Williams’s yardstick analysis does nothing to account for those factors. Not

 8   one of the selection criteria Williams used to pick comparable firms has anything to do with those

 9   attributes, so it is inconceivable that his model could have accounted for them. Indeed, the model

10   barely attempts to account for any potentially confounding variable (for instance, with an

11   accompanying regression analysis). See Kentucky v. Marathon Petroleum Co. LP, 464 F. Supp. 3d

12   880, 892 (W.D. Ky. 2020) (“[s]uccessful applications of” a yardstick approach “usually employ a

13   regression analysis” to account for other factors likely to affect profits or prices); Faigman et al.,

14   5 Mod. Sci. Evid. § 43:35 (2022-2023 ed.) (When a “yardstick benchmark is employed, effects on

15   the prices paid by plaintiffs … caused by factors other the alleged wrongdoing must be taken into

16   account. … Economists usually account for the multiple influences on prices with a … multiple

17   regression.”). Advertisers have had nearly a year to try to fill this critical gap in their expert’s

18   analysis—the fact that they have not makes clear that they cannot.

19          Nor does Williams’s use of economic profit rates “

20                                                                  .” Williams Rep. ¶76. Using EPRs is

21   not a license to set aside the rules of economics. The fact that an EPR figure “

22                                 ” as Williams says, is the problem. Id. Because an EPR calculation

23   bakes in everything that makes a firm successful—its level of innovation, its employee quality, its

24   management quality, its product quality, as well as any anticompetitive advantage it may have—a

25   comparison of firms’ EPRs cannot show which of these myriad factors is responsible for one firm’s

26   success as compared to the other. By nonetheless using the entire difference between Meta’s EPR

27   and the yardsticks’ EPR to calculate damages, Advertisers assert a damages figure that is

28   untethered to the theory for which they seek to recover.

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 1             Accordingly, as in Comcast, Advertisers have failed to meet their burden of providing a

 2   damages model that “measure[s] damages resulting from the particular antitrust injury on which

 3   [their] liability in this action is premised.” Comcast, 569 U.S. at 36; see also North Brevard, 2023

 4   WL 8936389, at *13-14 (rejecting benchmark-based damages model that did “‘not account for

 5   lawful factors that can explain the difference in margins between’” benchmarks and the defendant,

 6   because resulting inability to “distinguish between … lawful and allegedly unlawful charges”

 7   rendered model “unable to ‘bridge the differences between supra-competitive prices in general and

 8   supra-competitive prices attributable’ to the plaintiff’s theory of harm” (citations omitted)).

 9                    Advertisers Cannot Avoid Their Comcast Problem By Tying Damages To
10                    Monopoly Maintenance Instead Of The Challenged Acts
11             Advertisers attempt to paper over their damages model’s weaknesses by asserting that it
12   calculates the damages deriving “from Meta’s unlawful monopoly,” Mot. 22, and the challenged
13   conduct’s alleged “                                                                   ,” Williams Rep.
14   ¶59. Williams concededly has no opinion about
15                                  . Ex. 2, Williams 6/24 Tr. 58:21-59:9. Instead, he “
16                                                                  .” Ex. 1, Williams 9/23 Tr. 60:6-61:2.
17   And he claims that his focus on the alleged monopoly’s effects (rather than the conduct’s) gives
18   Advertisers a get-out-of-Comcast-free card if any of their theories are rejected later. See id. at 55:5-
19   56:9 (“
20                                                                                                   ”).
21             Although tying their damages to the alleged monopoly itself inflates Advertisers’ potential
22   recovery and avoids the more rigorous economic analysis required to calculate damages, there is
23   a critical flaw in this approach: antitrust law prohibits Advertisers from calculating the price
24   difference attributable to Meta’s alleged monopoly power rather than to the specific challenged
25   conduct at issue in this suit. “‘The mere possession of monopoly power, and the concomitant
26   charging of monopoly prices, is not only not unlawful; it is an important element of the free-market
27   system.’” Dreamstime.com, LLC v. Google LLC, 54 F.4th 1130, 1137 (9th Cir. 2022). As a result,
28   antitrust plaintiffs are entitled solely to the “damages attributable to [the] monopolizing conduct”

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 1   they challenge, not to any and all damages stemming from the monopoly itself. Image Tech. Servs.,

 2   Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1224 (9th Cir. 1997). That is black-letter antitrust law,

 3   reinforced by Comcast’s requirement that a plaintiff’s damages model “must measure only those

 4   damages attributable to” the plaintiffs’ theory of liability. Comcast, 569 U.S. at 35. Therefore, “the

 5   true measure of damages” in a monopoly maintenance case “is the price increment caused by the

 6   anticompetitive conduct that … augmented the monopolist’s control over the market”—not the

 7   price increment stemming from the monopoly itself. Berkey, 603 F.2d at 297; see also Los Angeles

 8   Memorial Coliseum, 791 F.2d at 1370 (discussing Berkey rule approvingly). “[A] purchaser may

 9   recover only for the price increment that ‘flows from’ the distortion of the market caused by the

10   monopolist’s anticompetitive conduct”—that is, Advertisers may not recover “the entire excess of

11   [Meta’s] price over” a non-monopoly price just because (allegedly) Meta’s “power has merely

12   been supplemented by improper conduct.” Berkey, 603 F.2d at 297-98.

13          But that is precisely what Advertisers seek to do—they claim an entitlement to all the

14   asserted damages resulting from Meta’s alleged monopoly, just because the challenged conduct

15   allegedly had “                                                                     ” Williams Rep.

16   ¶59. “[E]ven assuming,” as Williams does, that Meta’s supposed price increases were “to some

17   extent caused by” the challenged conduct, he concededly “made no attempt to show what part of

18   the increase was caused by” that conduct. Allegheny Pepsi-Cola Bottling Co. v. Mid-Atl. Coca-

19   Cola Bottling Co., 690 F.2d 411, 415 (4th Cir. 1982). The problem with tying damages to a

20   monopoly, rather than to the conduct challenged, is especially acute in a monopoly maintenance

21   case like this one. That is because a monopoly maintenance case presumes that the monopoly

22   predated the challenged conduct—meaning that the profits gained from the monopoly cannot

23   possibly be attributed to the challenged conduct alone. Areeda ¶657 (“[T]he consumer’s injury

24   results only from the increment in price that results from the unlawful monopolization[.]”).

25          Advertisers’ monopoly-based (rather than conduct-based) approach to damages would

26   permit them to recover for theories of liability this Court has already held are time-barred and thus

27   unavailable to the class—in other words, to do exactly what Comcast prohibits. Namely,

28   Advertisers previously alleged claims based on Meta’s acquisition of Instagram and WhatsApp

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 1   (First Am. Compl., Dkt. 391 ¶¶246-301) and based on Meta’s 2015 changes to its Platform policies

 2   and data sharing practices (id. ¶¶119-221). The parties ultimately agreed those claims were time-

 3   barred, and the Court held Advertisers could not “seek damages for” that conduct. Dkt. 396 at 2.

 4            But Advertisers have never retreated from the position that those actions contributed to

 5   Meta’s alleged monopoly—indeed, their class certification motion opens with a discussion of how

 6   Meta’s acquisitions of Instagram and WhatsApp “bolstered” its “acqui[sition] of a monopoly in

 7   social advertising.” Mot. 1. And when Advertisers recounted Meta’s supposedly anticompetitive

 8   “                 ” in their interrogatory responses during fact discovery, they emphasized the role

 9   Meta’s Platform Policies supposedly played in cementing Meta’s market power. See Ex. 13 at 89-

10   91. As Advertisers see it, that conduct—for which Advertisers concededly have no right to

11   recover—played a critical role in cementing Meta’s alleged monopoly. And because Advertisers’

12   damages figure calculates the entire overcharge stemming from Meta’s alleged monopoly, it seeks

13   damages for this pre-limitations conduct for which Advertisers cannot recover—that is, it measures

14   damages unmoored from Advertisers’ remaining theories of liability.

15            This Court has already warned Advertisers that they “will be held to” their promise not to

16   seek damages for actions outside the limitations period. Dkt. 396 at 2 (“[T]he advertisers stated

17   that they will not seek damages for … ‘any pre-limitations period conduct.’ Facebook has no

18   substantive concerns about this representation, and the advertisers will be held to it.” (citations

19   omitted)). Comcast does not permit Advertisers to now circumvent that order by hitching their

20   damages case to Meta’s alleged monopoly instead of to the actual conduct they challenge.

21   III.     THE NAMED PLAINTIFFS ARE ATYPICAL AND INADEQUATE CLASS REPRESENTATIVES

22            A “material difference between the sophistication of a class representative and that of
23   absent class members supports denying certification.” IntegrityMessageBoards.com v. Facebook,
24   Inc., 2021 WL 3771785, at *8 (N.D. Cal. Aug. 24, 2021) (noting that the class representatives
25   lacked the “degree of preexisting marketing experience” that “many” of the proposed class of
26   Facebook advertisers did). That is precisely the situation here.
27            The named plaintiffs—who include a real estate agent and musician (Mark Berney, and his
28   LLC “406 Property Services”), a wine review website (Affilious, plaintiff Jessyca Frederick’s

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 1   business), the owner of a small-town barbershop who doubles as a self-publishing joke book author

 2   (Mark Young), and a resident advertising free concerts in her neighborhood (Kathy Looper)—are

 3   not experienced advertising professionals. And, to their credit, they freely admit they do not

 4   understand the range of options available to advertisers. Mark Berney testified, “

 5

 6                     . Ex. 14, Berney Tr. 169:17-25, 176:12-20. Mark Young acknowledged that

 7

 8                Ex. 15, Young Tr. 34:12-35:11. Jessyca Frederick’s business Affilious, Inc.

 9

10                                                                   . Ex. 4, Frederick Tr. 78:8-79:15,

11   157:25-158:5. Kathy Looper

12                                                            . Ex. 16, Looper Tr. 78:4-7, 80:6-16.

13          These named plaintiffs are all small advertisers whose limited, discrete ad purchases pale

14   in comparison to sophisticated, large-scale advertisers running continuous campaigns across Meta

15   and the wide range of available alternatives. See Ex. 17 at 35. They cannot represent tens of

16   millions of diverse advertisers, who differ greatly in terms of marketing experience, marketing

17   objectives, and marketing interests. Even more so because they cannot show that they (or others)

18   lacked alternatives to Meta, because they have no concept of what those alternatives may be. That

19   contrasts sharply with more sophisticated buyers who were aware of—and took advantage of—

20   ample alternative options to Meta for purchasing advertising. Indeed, such buyers not only had

21   alternatives to Meta’s offerings, but some were able to negotiate bespoke pricing agreements from

22   Meta—something the named plaintiffs presumably would not have even contemplated. See Ex. 3,

23   Tucker Rep. ¶71 (discussing bespoke pricing agreements with, among others,

24                                       ). The named plaintiffs are simply too dissimilar in size and

25   sophistication from huge swathes of the class to make them appropriate class representatives. See

26   Singh v. Google LLC, 2022 WL 94985, at *9 (N.D. Cal. Jan. 10, 2022) (“large disparity in size

27   and sophistication of [named plaintiff] and the members of the proposed class represents an

28   adequacy problem” where plaintiff sought “to represent … advertisers who spend amounts of

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 1   money that are orders of magnitude higher per month than he spends per year”); see also In re

 2   Facebook, Inc., PPC Advert. Litig., 282 F.R.D. 446, 454 (N.D. Cal. 2012) (“interests of [the named

 3   plaintiffs] are different than those of other class members” which included a “diverse group” of

 4   “large sophisticated corporations, as well as individuals and small businesses”).

 5          That difference is especially salient given the facts of this case—it is implausible to

 6   presume that a named plaintiff who did not shop around, plan his or her campaign in a sophisticated

 7   way, or track the effectiveness of his or her advertising ultimately paid a similar overcharge

 8   compared to a firm that carefully considered and monitored its approach to advertising. And it is

 9   equally implausible for the named plaintiffs to seek to represent firms of that sort.

10          The extraordinary gulf between the knowledge, objectives, and interests of the named

11   plaintiffs and the class they seek to represent further illustrates the problem with trying this case

12   as a class action. If these advertisers felt like they had no alternative to advertising on Meta and

13   felt that the end result was unsatisfactory, they can pursue these idiosyncratic views on their own

14   accord. The Clayton Act’s attorneys’ fee shifting provision and the availability of treble damages

15   incentivizes them to do so. But permitting them to proceed with this case as a class action risks a

16   serious “denial of due process to the absent class members.” Burkhalter Travel Agency v.

17   MacFarms Int’l, Inc., 141 F.R.D. 144, 154 (N.D. Cal. 1991). That danger is especially pronounced

18   because those absent class members include advertisers who know, value, and derive great benefit

19   from precisely the sort of advertising improvements challenged in this case. See supra I.A.2.

20   Where named plaintiffs “claim to have been harmed by the same conduct that benefitted other

21   members of the class[,] … the named representatives cannot ‘vigorously prosecute the interests of

22   the class.’” Valley Drug Co. v. Geneva Pharms., Inc., 350 F.3d 1181, 1189 (11th Cir. 2003). Many

23   absent class members have little interest in seeing valuable Meta features threatened or punished

24   to enrich plaintiffs with whom they have nothing in common, let alone those plaintiffs’ lawyers.

25                                            CONCLUSION

26          The Court should deny Advertisers’ motion for class certification. And because Advertisers

27   have now had two attempts to prove their claims meet the requirements for class certification yet

28   still failed to do so, their motion should be denied with prejudice.

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 1    Dated: June 21, 2024                              Respectfully submitted,

 2                                                      By: /s/ Sonal N. Mehta
                                                            Sonal N. Mehta (SBN 222086)
 3

 4                                                      WILMER CUTLER PICKERING HALE
                                                        AND DORR LLP
 5                                                      Attorney for Defendant Meta Platforms, Inc.

 6

 7

 8

 9                                   CERTIFICATE OF SERVICE

10          I hereby certify that on this 21st day of June 2024, I electronically transmitted the public

11   redacted version of the foregoing document to the Clerk’s Office using the CM/ECF System and

12   caused the version of the foregoing document filed under seal to be transmitted to counsel of record

13   by email.

14
                                                      By:    /s/ Sonal N. Mehta
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                                                              Sonal N. Mehta
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                                                             RENEWED CLASS CERTIFICATION MOTION
